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                    IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

JACQUELINE F. MCLAIN,                          )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )   CASE NO. 2:18-CV-655-SMD
                                               )
J.C. PENNEY CORPORATION, et al.,               )
                                               )
       Defendants.                             )


                                   FINAL JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii), Plaintiff Jacqueline F.

McLain and Defendants J.C. Penney Corp., J.C. Penney Company, Inc., and J.C. Penney

Properties, Inc. have filed a Joint Stipulation of Dismissal (Doc. 31). Accordingly, it is the

ORDER, JUDGMENT and DECREE of the Court that this case is DISMISSED with

prejudice as to all Defendants with each party to bear their own costs and attorney’s fees.

No costs are taxed.

       The Clerk is DIRECTED to enter this document on the civil docket as a Final

Judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure.

       DONE this 9th day of July, 2019.



                                               /s/ Stephen M. Doyle
                                               UNITED STATES MAGISTRATE JUDGE
